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                 EXHIBIT 2
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28 February 1951
Herder & Co. and Dr. Ludwig Ott sign a licencing contract to publish Grundriss der Dogmatik
          Case 2:22-cv-01635-TL Document 48-3 Filed 04/10/23 Page 3 of 25
28 February 1951
Herder & Co. and Dr. Ludwig Ott sign a licencing contract to publish Grundriss der Dogmatik
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28 February 1951
Herder & Co. and Dr. Ludwig Ott sign a licencing contract to publish Grundriss der Dogmatik



                                               PUBLISHING AGREEMENT

       Between Hochwürden Professor Dr. Ludwig Ott, Eichstätt (Bavaria) and the publishing house Herder &
       Co. G.m.b.H., Freiburg im Breisgau.

                                                         Article 1

       Professor Dr. Ludwig Ott gives the publisher Herder the publishing house of his work

                                               "Grundriß der Dogmatik"

       For all editions and editions. The author agrees that this book will be included in the collection "Herder's
       Theological Groundbreak".

                                                         Article 2

       The definitive determination of the run-up height takes place at the beginning of the printing by the
       publisher, with an announcement to the author. The publisher Herder determines the amount of possible
       future editions under notice to the author.

                                                         Article 3

       Herder publishes the first (home) correction of the work, while the author reads the second and any
       further necessary revision.

       Herder reserves the right to invoice author corrections, which exceed the usual amount (10% of the cost
       of the set), and deduct them from the fee.

                                                         Article 4

       The fee shall be 10% of the German retail price of the unbound (raw) copy to be determined by the
       publisher. It is payable according to the paragraph.

       As a rule, statements and settlements are held twice a year, in February and August. If the work has not
       been sold ten years after the end of the year of publication, the remuneration obligation for the copies
       which have not yet been sold is void.

                                                         Article 5

       The publisher Herder is entitled to print up to 10% of free circulation free of charge every 10 days, of
       which the author receives 10% free circulation. The remaining pieces are available to the publisher for
       advertising purposes.

                                                         Article 6

       The right to translate into foreign languages is given by the publisher Herder, subject to the agreement of
       the author. Remunerative remunerations are shared between the author and the publisher.

       This contract was duplicated and signed by both parties.


       Eichstatt, February 23, 1951
              Ludwig Ott

       Freiburg im Breisgau, February 28, 1951
              Herder & Co. G.m.b.H.
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25 August 1985
Certificate of Inheritance - Regina Ott (sister to Dr. Ludwig Ott) is the sole heiress.
          Case 2:22-cv-01635-TL Document 48-3 Filed 04/10/23 Page 6 of 25
07 October 1985
Assigment of Rights - Regina Ott (sister to Dr. Ludwig Ott) to Diocese of Eichstätt
          Case 2:22-cv-01635-TL Document 48-3 Filed 04/10/23 Page 7 of 25
07 October 1985
Assigment of Rights - Regina Ott (sister to Dr. Ludwig Ott) to Diocese of Eichstätt
          Case 2:22-cv-01635-TL Document 48-3 Filed 04/10/23 Page 8 of 25
07 October 1985
Assigment of Rights - Regina Ott (sister to Dr. Ludwig Ott) to Diocese of Eichstätt

                                     [http://www.bing.com/translator/]

                                             GIFT CONTRACT

                                                  Between

                         Miss Regina Ott, Holy Spirit hospital, home for the aged
                                    Station square 3, 8078 Eichstätt

                                                   and the

                                    Seminary of the Diocese of Eichstätt,
                                        represented by the most Mr
                                     Rain Dr. Ludwig Mödl (hereinafter
                                      Seminary called) is the following
                                             Donation contract.


                                                      1.

   Miss Regina Ott, sole heiress of her brother's Professor Dr.Ludwig Ott, the seminary gives its
   unlimited-owned estate of Professor Ott. Both parties agree on the scope of the written estate.

                                                      2.

   The donation takes place under exclusion of any warranty.

                                                      3.

   The seminary accepts the gift. Both parties agree that the transfer of ownership.

                                                      4.

   The Contracting Parties agree that the written estate is given by Lord Professor Ott of the
   Universitätsbibliothek Eichstätt in custody.

                                                      5.

   A transfer or sale of the written estate or parts thereof by the seminary is not permitted.

                                                      6.

   Publications from the written papers are subject to approval by Miss Regina Ott, after her to de GE
   tradenames of the seminary in Eichstätt.

                                                      7.

   In the event of the dissolution of the University or the transition of the University in State or other
   non-church sponsored by the stock of the written estate of Lord Professor Or must. Ludwig Ott is
   immediately stored in premises that are determined by the seminary.

   Eichstätt, the 07 October 1985
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15 March 2004
Verlag Herder returns the rights to Diocese of Eichstätt
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15 March 2004
Verlag Herder returns the rights to Diocese of Eichstätt


   Editors: Dr Peter Suchla


   Herrii Bililiotheksdirektor
   Dr. Hermann Holzbauer
   Universitatsallee 1
   85072 Eichstatt                                                    Freiburg, 15 March 2004


   Ludwig Ott; Publishing rights


   Dear Dr. Holzbauer,

   have thanks for your letter of 24 February in terms of inheritance and rights management for
   Ludwig Ott. Like I would like to answer your question

   Currently, the following works of the author Ott are available (or in the reprint process):

   -The sacrament of ordination (= Manual of the history of dogma)
   -Eschatology in Scholasticism (= Manual of the history of dogma)

   The work "Grundiß of Catholic dogmatic theology" is out of print. your desire in accordance
   with we the publishing rights to the "Grundiß" hereby give back so that rights holders can
   have free.


   With kind regards

   your Publisher Herder




   (Dr. Peter Suchla)
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10 November 2008
Diocese of Eichstätt grants Nova et Vetera the rights for English edition.
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10 November 2008
Diocese of Eichstätt grants Nova et Vetera the rights for English edition.


                                          Supplementary contract

   In addition to the publishing contract dated 6/11. July 2004 the publisher nova vetera e.K., Bonn, hereby
   also the right for an English-language edition of the Grundrisses der Dogmatik of Prof. Dr. Ludwig Ott.


   The bishop's seminary of St. Willibald in Eichstatt receives a copy of every edited version of the English
   version.

   In the light of the controversy surrounding the English edition in the 1960s, the publisher nova & vetera
   e.k. To ensure that the old version of the text in the former form is by no means reused.

   Eichstatt, 10 November 2008
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                                         English translation:

                                           Fundamentals            of Catholic Dogma

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